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       In the United States Court of Federal Claims
  * * * * * * * * * * * * *    *
  D. MICHAEL COLLINS, et al.,  *
                               *
                               *   No. 04-1472L
                 Plaintiffs,   *   Filed: December 2, 2021
          v.                   *
                               *
  UNITED STATES,               *
                               *
               Defendant.      *
                               *
  * * * * * * * * * * * * * *  *
                               *
                             ORDER

       The court is in receipt of the parties’ December 2, 2021 joint stipulation of dismissal
with prejudice. Pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the United States Court of
Federal Claims (2021), this court ORDERS that this case be DISMISSED, with prejudice.

       IT IS SO ORDERED.

                                                         s/Marian Blank Horn
                                                         MARIAN BLANK HORN
                                                                  Judge
